                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVILLE DIVISION
                            5:05CV219-V-02
                            (5:03CR4-15-V)


WALTER BRENNAN CONNOR,    )
     Petitioner,          )
                          )
       v.                 )                     ORDER
                          )
UNITED STATES OF AMERICA, )
     Respondent.          )
__________________________)

      THIS MATTER comes before the Court the petitioner’s document

captioned as a “Preliminary Statement Under 28 U.S.C. §2255 As

Justice So Requires Under Rule 15,” filed July 5, 2005.              Based

upon the nature of the petitioner’s allegations, the fact that he

identified himself as the petitioner and the government as the

respondent in the caption of this document, and the fact that his

sole request for relief is for the Court to vacate its Judgment

of conviction so that he can timely file a notice of appeal, the

Court will construe the subject Statement as a motion to vacate

under §2255.1

      Furthermore, after having carefully reviewed the instant s

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       Although the Court has decided to construe the petitioner’s so-called
“Statement” as a mislabeled motion to vacate under §2255, the Court does not
believe that it also must give the petitioner prior notice of this conversion
and/or an opportunity to oppose such construction as described in United
States v. Emmanuel, 288 F.3d 644 (4 th Cir. 2002). Indeed, inasmuch as the
Court has decided to grant the petitioner relief on his de facto motion to
vacate, pursuant to In re Goddard, 170 F.3d 435 (4 th Cir. 1999), the
petitioner will be entitled to file a second motion to vacate, if he so
chooses, after the conclusion of his direct appeal without having to obtain
pre-filing permission to file such motion from the Court of Appeals.




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motion to vacate, certain other pertinent documents from the

petitioner’s criminal case, and relevant legal precedent, the

Court concludes, out of an abundance of caution, that the peti-

tioner’s motion to vacate should be granted, but only for the

purpose of allowing him to pursue a direct appeal of his con-

viction and/or sentence in his underlying criminal case.

                I.   FACTUAL AND PROCEDURAL BACKGROUND

      According to the record, on January 29, 2003, the petitioner

(along with 17 other persons) was named in a Bill of Indictment

which charged him with conspiracy to possess with intent to dis-

tribute, and to distribute five kilograms or more of cocaine pow-

der and 50 grams or more of cocaine base, all in violation of 21

U.S.C. §§841(a)(1) and 846 (Count One).          Count Twelve of the

Indictment also charged the petitioner with possession with in-

tent to distribute 50 grams or more of cocaine base, in violation

of 21 U.S.C. §841.2     Subsequently, the petitioner retained pri-

vate counsel to represent him in this matter.

      On June 26, 2003, the petitioner appeared before the Court

and entered a “straight-up” guilty plea to Count One in the

Indictment.    Consequently, on that occasion, the Court engaged

the petitioner in a lengthy plea colloquy to ensure that he was

intelligently and voluntarily tendering his guilty plea.               After


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       A Superseding Indictment was filed July 29, 2003. However, such
document did not alter or otherwise affect the allegations which were set
forth against the petitioner in the original Indictment.

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considering the petitioner’s answers to its numerous questions,

the Court conditionally accepted the petitioner’s guilty plea.

Thereafter, on August 19, 2003, upon the Motion of the govern-

ment, the Court dismissed Count Twelve against the petitioner.

      Next, after granting the petitioner’s two requests for

continuances on September 9, 2004, the Court held a Factual Basis

& Sentencing Hearing for the petitioner.          On that occasion, the

Court reviewed the petitioner’s case, his Pre-Sentence Report,

and other relevant matters.       Then, pursuant to the U.S. Senten-

cing Guidelines, the Court sentenced the petitioner to a term of

135 months imprisonment.       However, in addition to this Guidelines

sentence, the Court announced an alternative, provisional sen-

tence of 135 months.      Such provisional sentence was entered in

conformity with the Fourth Circuit Court of Appeals’ decision in

United States v. Hammoud, 381 F.3d 316 (4th Cir. 2004) (en banc).3

The Court’s Judgment was filed on September 20, 2004.

      After entry of the Court’s Judgment no appeal was filed for

the petitioner.     Rather, on July 5, 2005, the petitioner filed

this de facto motion to vacate, alleging that he was subjected to

ineffective assistance by virtue of trial counsel’s failure to

consult with him concerning the possibility of a direct appeal,



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       In Hammoud, the Fourth Circuit directed district courts to continue to
impose sentences under the Guidelines, but also to impose alternative, pro-
visional sentences under 18 U.S.C. §3553(a) in the event that the U.S. Supreme
Court subsequently found, as it has done, that the mandatory provisions of the
Guidelines are invalid.

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and counsel’s further failure to file such an appeal despite the

petitioner’s having requested that counsel do so.

                             II.   ANALYSIS

     The petitioner’s claim that counsel failed to file an appeal

as requested is controlled by the Fourth Circuit’s decision in

United States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993).            In Peak,

the Court of Appeals held that an attorney’s failure to file an

appeal, when requested by his client to do so, is per se

ineffective assistance of counsel-–irrespective of the merits of

the appeal.   See also Evitts v. Lucey, 469 U.S. 387, 391-05

(1985) (same).

     Additionally, the Supreme Court has ruled that even where a

defendant has not approached his attorney and specifically

directed counsel to appeal, “the better practice is for counsel

routinely to consult with the defendant about an appeal.”              Roe v.

Flores-Ortega, 528 U.S. 470, 478 (2000).        In this instance,

consult means to advise the defendant of the advantages and dis-

advantages of an appeal and make “a reasonable effort to discover

the defendant’s wishes.”     Id.   In some cases, such as where a

defendant receives a sentence which is different from what he

expected, counsel’s consultation about an appeal should occur

after the sentencing hearing has been conducted.             United States

v. Witherspoon, 231 F.3d 923, 927 (4th Cir. 2000).

     In the instant case, the petitioner has alleged both that


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his attorney failed to consult with him regarding the possibility

of an appeal; and that, notwithstanding such failure, counsel

failed to honor the petitioner’s request that he file an appeal

for him.    Thus, even if the government were to file an answer or

other response which attaches an affidavit in which counsel

simply denies such representations, the Court still would be

compelled to give the petitioner the benefit of the doubt on this

matter.

     Accordingly, in light of Evitts and Peak, the Court finds

that the petitioner’s motion to vacate must be granted.            That is,

in cases such as this one, the prescribed remedy is to vacate the

original Judgment and enter a new Judgment from which an appeal

can be taken.    Thus, the Court will vacate its Judgment so that

the petitioner may appeal his conviction and/or sentence.

                  III.   NOTICE OF APPELLATE RIGHTS

     Mr. Connor, you are hereby advised that you have an absolute

right to appeal your criminal case and any issues in it to the

Fourth Circuit Court of Appeals.        If you decide to do that, you

will have to file a Notice of Appeal with the Clerk of this

District Court within 10 days after the day your new Judgment of

conviction is filed with this Court, or within 10 days after any

Government appeal is filed with this Court, whichever day comes

later.    The Clerk will assist you in preparing your Notice of

Appeal if you so request.


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     If you previously were determined to be indigent in connec-

tion with your criminal case, or if you now are indigent and are

unable to pay for an appeal, you may request permission to

proceed on appeal without prepayment of the applicable filing

fees.     You should discuss the question of appeal with your

attorney, if you have one, but whatever he or she may tell you,

the responsibility for filing the Notice of Appeal remains with

you, and you must file such Notice within the aforementioned 10-

day period in order to make it effective.

                              IV.   ORDER

     NOW THEREFORE, IT IS HEREBY ORDERED:

     1.    That the petitioner’s motion to vacate is GRANTED;

     2.    That the petitioner’s original Judgment is VACATED due

to counsel’s failure timely to file an appeal as requested by the

petitioner;

     3.    That the Clerk is directed to prepare a new Judgment for

the petitioner, imposing the same sentence and conditions as were

imposed by the original Judgment form;

     4.    That the petitioner may appeal from his new Judgment as

has been explained in this Order;

     5.    That if counsel for the government is aware that former

defense counsel has in his possession a document which affirma-

tively establishes that the petitioner advised counsel that he

did not want to appeal, or which otherwise conclusively rebuts


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the petitioner’s allegation that counsel failed to file an appeal

as requested, counsel for the government may present such evi-

dence to the Court by way of an appropriate request for

reconsideration; and

     6.   That the Clerk shall send copies of this Order to the

petitioner and to the United States Attorney for the Western

District of North Carolina.

     SO ORDERED.




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                    Signed: July 14, 2005




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